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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

 LIGTEL COMMUNICATIONS, INC.,

                Plaintiff,

        v.                                          Case No. 1:20-cv-00037-HAB-SLC

 BAICELLS TECHNOLOGIES INC.;
 BAICELLS TECHNOLOGIES NORTH
 AMERICA, INC.,

                Defendants.


                              DECLARATION OF RONALD MAO

        I, Ronald Mao, declare the following:

        1.      I am a citizen of the United States of America, domiciled in the State of

 California.

        2.      I hold a Bachelor’s degree in Mechanical Engineering from Beijing University of

 Aeronautics & Astronautics, and a Master of Science degree in Computer Science from DePaul

 University.

        3.      I am employed as the Director of Carrier Solutions for Baicells Technologies

 North America Inc. (“Baicells”), and have been so employed from January 2018 through the

 present.

        4.      I have read the Complaint, Declaration of Randy Mead dated January 20, 2020,

 and Declaration of Josh Wentworth dated January 20, 2020.

        5.      On July 29, 2019, I attended and participated in a meeting at LigTel’s office in

 Ligonier, Indiana.
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         6.      Bo Wei, President and Chief Executive Officer, Rick Harnish, Chief Marketing

 Officer, and I attended this meeting on behalf of Baicells.

         7.      Randy Mead, Chief Executive Officer and General Manager, Josh Wentworth,

 Network Operations Supervisor, and Mike Troup, Network Operations Manager and Marketing,

 attended the meeting on behalf of LigTel.

         8.      Without prior notice to Baicells, LigTel’s outside counsel also participated in the

 meeting.

         9.      LigTel’s outside counsel led the discussion during this meeting.

         10.     I took minutes of this meeting and sent those minutes by e-mail that same day to

 Wei and Harnish. A true and correct copy of the minutes I took, together with Harnish’s

 response to me, is attached to this Declaration as Exhibit 1 (BAICELLS-00035337-38).

         11.     Prior to my employment with Baicells, I worked for Huawei Technologies USA

 as Product Manager from November 2005 until June 2017. Prior to that employment, I worked

 for Ericsson, Onix Microsystems, and Lucent Technologies in various roles.

         12.     During the 2015-2016 timeframe, I was assigned by Huawei Technologies USA

 to serve LigTel in a sales support role. LigTel was one of many accounts that I served in a

 similar role.

         13.     By that time, LigTel had already purchased and installed certain equipment from

 Huawei. I was not involved in the design, configuration, sales, or installation of any equipment

 that LigTel purchased from Huawei.

         14.     During my employment with Huawei Technologies USA, I never visited any of

 LigTel’s facilities, locations, or sites, nor did I see any of its equipment, network, or operations.




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        15.     On one occasion, in April 2017, I met in person with Wentworth at a user group

 conference in Plano, Texas. I had a mostly personal conversation with Wentworth during that

 conference. I had no other in-person meetings with anyone associated with LigTel.

        16.     My role with LigTel was limited to occasional communications with LigTel

 during what I considered to be a “maintenance mode.” I did not sell any equipment to LigTel.

        17.     During my employment with Huawei Technologies USA, I did not have access to

 LigTel’s encryption code, IP infrastructure (either physical or logical), software, or systems.

        18.     I did have some general knowledge of LigTel’s tower locations, radio frequency

 information, and wireless coverage areas.

        19.     LigTel representatives told me that some part of their network was at capacity,

 and that they were seeking ways to improve capacity. I offered to Wentworth for Huawei to

 conduct a radio frequency analysis to identify bottlenecks. I did not receive a response to that

 offer and do not know whether LigTel had such an analysis conducted.

        20.     My employment with Huawei Technologies USA terminated in June 2017 due to

 a reduction in force. At that time, I left my laptop computer and all work-related documents and

 information with Huawei, and did not retain copies of such documents and information.

        21.     I do have some memory of my communications with LigTel. I summarized the

 full extent of my memory (which I referred to as “my old notes”) in an email dated July 11, 2019

 from me to certain Baicells co-workers. A true and correct copy of this email is attached to this

 Declaration as Exhibit 2 (BAICELLS-00007858-59). I have no written notes or other materials

 from my interactions with LigTel.

        22.     The Federal Communications Commission regulates and issues licenses to

 carriers such as LigTel.          Information about each such licensee is available at



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 https://wireless2.fcc.gov/UlsApp/UlsSearch/searchLicense.jsp.     This information includes the

 name and contact information of the licensee, ownership disclosure filings, and direct and

 indirect ownership interests in the FCC regulated business. For each license, this information

 includes radio service frequencies (MHz), associated frequencies (MHz), call signs, spectrum

 and market area (including downloadable maps), license grant date, license effective date,

 license expiration date, radio service type, regulatory status, and special conditions attached to

 any license. This information also includes details of each site maintained by the carrier,

 including the location of each (by city, state, latitude and longitude). For each location, this

 information includes details of the carrier’s transmitters located thereon, such as support

 structure type, elevation and overall height. It includes details about the manufacturer, model

 number, beamwidth, azimuth, polarization, gain, center line, and elevation of antennae.         It

 contains details of equipment such as FCC ID number, EIRP (Equivalent Isotropically Radiated

 Power) (dBm), transmission designator, transmission method and protocol description,

 lower/center frequency, upper frequency, and modulation scheme of equipment. It also contains

 frequency for IRAC (Interdepartment Radio Advisory Committee) interference coordination.

 This information also includes path summaries and details, including build out dates, transmit

 location, receiver location (and the coordinates, elevation, polarization, azimuth, and elevation

 angle of each), the manufacturer and model number of transmit and receiver antennae (and

 height, beamwidth, and gain (dBi) of each), the path frequencies, tolerance, EIRP, ATPC

 (Automatic Transmit Power Control), emission designators, and the manufacturer and model

 number of each transmitter. The FCC authorizations issued to carriers such as LigTel are also

 publicly available on this website. Those authorizations include additional information such as

 construction dates for each authorized location.



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